                       Case 4:16-cr-00019-BMM Document 315 Filed 08/29/17 Page 1 of 7                             FILED
AO 245B (Rev. 11116)   Judgment in a Criminal Case                                                                   AUG 292017
                       Sheet 1
                                                                                                                 Clerk, u.s O!iti'ia COurt
                                                                                                                    District Of Montana
                                         UNITED STATES DISTRICT COURT                                                    Gre. Fills

                                                                District of Montana
                                                                          )
             UNITED STATES OF AMERICA                                     )       JUDGMENT IN A CRIMINAL CASE
                                  v.                                      )
                                                                          )
               ZACHARY BROOKE ROBERTS                                             Case Nwnber: CR 16-19-GF-BMM-02
                                                                          )
                                                                          )       USM Nwnber: 16283-046
                                                                          )
                                                                          )        Eric Ryan Henkel and Michael N. Pancer
                                                                                  Defendant's Attorney
                                                                          )
THE DEFENDANT:
III pleaded guilty to count(s)         1 of the Superseding Information

o pleaded nolo contendere to count(s)
   which was accepted by the court.
o was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty ofthese offenses:




                                    in Property Derived From Specified Unlawful Activity



       The defendant is sentenced as provided in pages 2 through         __7_ __ of this judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
o The defendant has been found not guilty on count(s)
DCount(s)                                          o is           0 are dismissed on the motion ofthe United States.
               --------------------
         It is ordered that the defendant must notifY the United States attorney for this district within 30 days ofany change ofname, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judwnent are fully paid. Ifordered to pay restitution,
the defen<Iant must notifY the court and United States attorney of material changes in economic circumstances.




                                                                          Brian MorriS, United States District Judge
                                                                         Name and Title of Judge
                      Case 4:16-cr-00019-BMM Document 315 Filed 08/29/17 Page 2 of 7

AO 245B (Rev. 11/16) Judgment in Criminal Case
                     Sheet 2 -Imprisonment

                                                                                                     Judgment - Page   _=2_ of   7
DEFENDANT: ZACHARY BROOKE ROBERTS
CASE NUMBER: CR 16-19-GF-BMM-02

                                                            IMPRISONMENT
            The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
 term of:

  20 months.




     IiZI The court makes the following recommendations to the Bureau of Prisons:
  The Court recommends the defendant be placed at FCI Taft.




     o The defendant is remanded to the custody of the United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
       o at _________ 0 a.m. o p.m. on
       o as notified by the United States Marshal.
     ~ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

            o before 2 p.m. on
            I!f as notified by the United States Marshal.
            o as notified by the Probation or Pretrial Services Office.

                                                                  RETURN
I have executed this judgment as follows:




            Defendant delivered on                                                      to

a _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                  UNITED STATES MARSHAL



                                                                          By _ _ _ _ _========~~==~~~~-----
                                                                                              DEPUTY UNITED STATES MARSHAL
                     Case 4:16-cr-00019-BMM Document 315 Filed 08/29/17 Page 3 of 7

AO 245B (Rev. 11116) Judgment in a Criminal Case
                     Sbeet 3   Supervised Release
                                                                                                      Judgment-Page ~ of                7
DEFENDANT: ZACHARY BROOKE ROBERTS
CASE NUMBER: CR 16-19-GF-BMM-02
                                                     SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:
 one (1) year.

                                                    MANDATORY CONDITIONS
I.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use ofa controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
              1!1
                The above drug testing condition is suspended, based on the court's determination that you
                pose a low risk of future substance abuse. (check if applicable)
4.     1!1
         You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
5.    0 You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.s.C. § 16901, et seq.) as
         directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
         reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
6.    0 You must participate in an approved program for domestic violence. (check ifapplicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
                       Case 4:16-cr-00019-BMM Document 315 Filed 08/29/17 Page 4 of 7

AO 2458 (Rev. 11116)   Judgment in a Criminal Case
                       Sheet 3A - Supervised Release
                                                                                               Judgment-Page   __..!4__ of _ _----:1'--__
DEFENDANT: ZACHARY BROOKE ROBERTS
CASE NUMBER: CR 16-19-GF-BMM-02

                                       STANDARD CONDITIONS OF SUPERVISION
As part ofyour supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identifY the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
      frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
S.    You must live at a place approved by the probation officer. Ifyou plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notifY the probation officer at least 10 days before the change. IfnotifYing
      the probation officer in advance is not possible due to unanticipated circumstances, you must notifY the probation officer within 72
      hours ofbecoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. Ifyou plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notifY the probation officer at least 10 days before the change. IfnotifYing the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notifY the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. Ifyou know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission ofthe
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notifY the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notifY the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy ofthis
judgment containing these conditions. For further information regarding these conditions, see Overview o/Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                    Date _ _ _ _ _ _ _ _ _ _ __
                      Case 4:16-cr-00019-BMM Document 315 Filed 08/29/17 Page 5 of 7
AO 245B(Rev. 11/16)    Judgment in a Criminal Case
                       Sheet 3D - Supervised Release


DEFENDANT: ZACHARY BROOKE ROBERTS
CASE NUMBER: CR 16-19-GF-BMM-02

                                         SPECIAL CONDITIONS OF SUPERVISION

 1. The defendant shall submit his person, residence, vehicles, and papers, to a search, with or without a warrant by any
 probation officer based on reasonable suspicion of contraband or evidence in violation of a condition of release. Failure to
 submit to search may be grounds for revocation. The defendant shall wam any other occupants that the premises may be
 subject to searches pursuant to this condition. The defendant shall allow seizure of suspected contraband for further
 examination.

 2. The defendant shall complete 400 hours of community service work, at a rate of not less than 18 hours per month as
 directed by the probation office.

 3. The defendant will provide the United States Probation Office with any requested financial information and shall incur no
 new lines of credit without prior approval of the United States Probation Office. You must notify the Probation Office of any
 material changes in your economic circumstances that might affect your ability to pay restitution, fines or special
 assessments.

 4. The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, and/or any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation.

 5. While on supervision, the defendant will fulfill all tax obligations in adherence to Internal Revenue Service requirements.

 6. The defendant shall participate in a program for mental health treatment as deemed necessary by the United States
 Probation Office, until such time as the defendant is released from the program by the probation office. The defendant is to
 pay part or all of the cost of this treatment, as directed by the United States Probation Office.

 7. The defendant shall refrain from excessive use of alcohol. Excessive use of alcohol is defined by this Court as .08 BAC
 or above.

 8. The defendant may have contact with defendants Martin Gasper Mazzara and Richard Lee Broome for purposes of
 legitimate activities and business ventures.

 9. The defendant shall pay restitution in the amount of $700,000. The defendant is to make payments at a rate directed by
 United States Probation. Payment shall be made to the Clerk, United States District Court, Missouri River Courthouse, 125
 Central Avenue West, Suite 110, Great Falls, MT 59404 and shall be disbursed to:

 Chippewa Cree Tribe, RR1 Box 544, Box Elder, Montana 59521
                       Case 4:16-cr-00019-BMM Document 315 Filed 08/29/17 Page 6 of 7
AO 24SB (Rev. 11116)   Judgment in a Criminal Case
                       Sheet 5 - Criminal Monetary Penalties
                                                                                                       Judgment - Page _.><.6_ of         7
 DEFENDANT: ZACHARY BROOKE ROBERTS
 CASE NUMBER: CR 16-19-GF-BMM-02
                                               CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                     Assessment                   JVTA Assessment'"                Fine                      Restitution
 TOTALS            $ 100.00                     $ N/A                            $ WAIVED                  $ 700,000.00


 o The determination ofrestitution is deferred until ---- . An Amended Judgment in a Criminal Case (AO USC) will be entered
      after such determination.

 it! The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
      before the United States is paid.




  RR 1 Box 544




TOTALS                                                                       $                700,000.00
                                     $ -----------------                         -----------------­
o     Restitution amount ordered pursuant to plea agreement $
                                                                         -------------------
o     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

it!   The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      it! the interest requirement is waived for the            0 fine    ~ restitution.

      o the interest requirement for the           0     fine    0   restitution is modified as follows:

* Justice for Victims of Trafficking Act of2015, Pub. L. No. 114-22.
** Findings for the total amount oflosses are required under Chapters 109A, 110, II OA, and 113A ofTitle 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
                        Case 4:16-cr-00019-BMM Document 315 Filed 08/29/17 Page 7 of 7
AO 2458 (Rev. 11/16)     Iudgment in a Criminal Case
                         Sheet 6 - Schedule ofPa:yments
                                                                                                                               7_ of _--'-_ _
                                                                                                               Iudgment-Page _ _
 DEFENDANT: ZACHARY BROOKE ROBERTS
 CASE NUMBER: CR 16-19-GF-BMM-02

                                                          SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A    0       Lump sum payment of $ _ _ _ _ _ _ _ due immediately, balance due

              O     not later than
                                   - - - - - - - - - , or
              o     in accordance with 0 C, 0 D, 0 E, or                          o Fbelow; or
 B    0       Payment to begin immediately (may be combined with               0 C,        o D, or       0 F below); or
 C    0       Payment in equal                    (e.g.• weekly. monthly. quarterly) installments of $                             over a period of
             _ _ _ _ _ (e.g.. months or YelJrs), to commence                        (e.g.• 30 or 60 days) after the date of this judgment; or

 D    0       Payment in equal                        (e.g.• wee.kiy. monthly. quarterly) installments of $                      over a period of
             _ _--::__ (e.g.• months or )'elJrs), to commence                         (e.g., 30 or 60 days) after release from imprisonment to a
              term of supervision; or

 E    0       Payment during the term of supervised release will commence within                 (e.g.• 30 or 60 days) after release from
              imprisonment. The court will set the payment plan based on an assessment ofthe defendant's ability to pay at that time; or

F     liZ!    Special instructions regarding the payment of criminal monetary penalties:

               Special assessment shall be immediately due and payable. While incarcerated, criminal monetary penalty
               payments are due during imprisonment at the rate of not less than $25 per quarter, and payment shall be through
               the Bureau of Prisons' Inmate Financial Responsibility Program. Criminal monetary payments shall be made to
               the Clerk, United States District Court. Missouri River Courthouse. 125 Central Avenue West, Suite 110, Great
               Falls, MT 59404, **AssessmenURestitution Zachary Brooke Robers"",
Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal mone!ary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




I!l   Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.
       Defendant Zachary Brooke Roberts. CR 16-19-GF-BMM-02; Co-Defendant Encore Services. LLC, CR
       16-19-GF-BMM-01
       Total Amount: $700,000 JoinUSeveral: $700,000
       Payee: Chippewa Cree Tribe, RR1 Box 544, Box Elder. MT 59521
o The defendant shall pay the cost of prosecution.
o The defendant shall pay the following court cost(s):
o The defendant shall forfeit the defendant's interest in the following property to the United States:
Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) commumty restitution, (7) NT A assessment, (8) penalties, and (9) costs, lDcludlDg cost of prosecution and court costs.
